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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 7

    PROJECT VERTE INC., 6                                         Case No. 23-10101-LSS

                      Debtor.                                     Related D.I: 165


            ORDER APPROVING STIPULATION BETWEEN THE
CHAPTER 7 TRUSTEE AND GREYORANGE GMBH UNDER FED R. BANKR. P. 9019

             Upon consideration of the motion of Alfred T. Giuliano (the “Trustee”), in his capacity as

the Chapter 7 trustee for the estate of Project Verte, Inc. (the “Debtor”), seeking the entry of an

Order approving the Stipulation (the “Stipulation”) between the Trustee and GreyOrange Gmbh

(“GreyOrange” and with the Trustee, the “Parties”), pursuant to Fed. R. Bankr. P. 9019 (the

“Motion”); and the Court having considered the Motion and determined that (i) it has jurisdiction

over the matters raised in the Motion, pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); (iii) the relief requested in the Motion is in the best

interests of the Debtor, its estate, and its creditors; (iv) proper and adequate notice of the Motion

and the relief requested therein has been given and no other or further notice is necessary; and (v)

upon the record herein, after due deliberation thereon, good and sufficient cause appearing

therefore,

             THE COURT FINDS AND CONCLUDES, based on the information set forth in the

Motion and the Stipulation, and any hearings held thereon:

             A.     The Court has jurisdiction over these cases pursuant to 28 U.S.C. § 1334(b).

             B.     Due and adequate notice of the Motion has been given to all parties entitled thereto,

and no other further notice is necessary or required.


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    The last four digits of the Debtor’s Employer Identification Number are 2508.



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       C.      A reasonable opportunity to object or to be heard regarding the relief requested in

the Motion has been afforded to all interested persons and entities.

       D.      The terms in the Stipulation are the result of good faith, arms-length negotiations

between the Parties and were not achieved by collusion.

       THEREFORE, IT IS HEREBY ORDERED, ADJUDED, AND DECREED, that:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Stipulation by and among the Parties, attached hereto as Exhibit A and

incorporated by reference herein, is hereby approved pursuant to Fed. R. Bankr. P. 9019.




      Dated: December 10th, 2024                     LAURIE SELBER SILVERSTEIN
      Wilmington, Delaware                           UNITED STATES BANKRUPTCY JUDGE

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